                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 1 of 72



                                                 FINAL LIST OF PROPOSED EXHIBITS

CASE NO. 17-cr-00008-WJM        PLAINTIFF’S LIST: ☒        DEFENDANT’S LIST: ☐     THIRD PTY DEFTS. LIST: ☐

CASE CAPTION ____United States_____ vs. _______Guy Jean-Pierre____            DATE: January 14, 2018

LIST PLAINTIFF’S EXHIBITS BY NUMBERS (1, 2, 3, etc.) and DEFENDANT’S BY LETTER (A, B, C, etc.)

EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                         DVD ‐ Audio Only ‐ 2014‐05‐14
           W. Sears      Recording of Meeting at FSPM Office
    1      FBI UC#1      1D6
                         DVD ‐ Video/Audio ‐ 2014‐05‐14
           W. Sears      Recording of Meeting at FSPM Office
   1a      FBI UC#1      1D7 Disk 1 of 2
                         DVD ‐ Video/Audio ‐ 2014‐05‐14
           W. Sears      Recording of Meeting at FSPM Office
   1b      FBI UC#1      1D7 Disk 2 of 2
    2
                         2014‐05‐14 (Excerpt 1) Recording of
           W. Sears      Meeting at FSPM Office ‐ Synced Video
   2a      FBI UC#1      & Transcript
                         2014‐05‐14 (Excerpt 2) Recording of
           W. Sears      Meeting at FSPM Office ‐ Synced Video
   2b      FBI UC#1      & Transcript
                         2014‐05‐14 (Excerpt 3) Recording of
           W. Sears      Meeting at FSPM Office ‐ Synced Video
    2c     FBI UC#1      & Transcript
                         2014‐05‐14 (Excerpt 4) Recording of
           W. Sears      Meeting at FSPM Office ‐ Synced Video
   2d      FBI UC#1      & Transcript
                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 2 of 72



EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                         2014‐05‐14 (Excerpt 5) Recording of
           W. Sears      Meeting at FSPM Office ‐ Synced Video
   2e      FBI UC#1      & Transcript
                         2014‐05‐14 (Excerpt 6) Recording of
           W. Sears      Meeting at FSPM Office ‐ Synced Video
   2f      FBI UC#1      & Transcript
           W. Sears      Transcript ‐ 2014‐05‐14 Recording of
   3       FBI UC#1      Meeting at FSPM Office
                         DVD ‐ Audio Only ‐ 2014‐07‐18
           S. Dittman    Recording of Meeting with Scott
   4       FBI UC#1      Dittman at Starbucks 1D9
                         DVD ‐ Video/Audio ‐ 2014‐07‐18
           S. Dittman    Recording of Meeting with Scott
   4a      FBI UC#1      Dittman at Starbucks 1D10
   5

                         2014‐07‐18 (Excerpt 1) Recording of
           S. Dittman    Meeting with Scott Dittman at
   5a      FBI UC#1      Coffeeshop ‐ Synced Video & Transcript

                         2014‐07‐18 (Excerpt 2) Recording of
           S. Dittman    Meeting with Scott Dittman at
   5b      FBI UC#1      Coffeeshop ‐ Synced Video & Transcript

           S. Dittman    Transcript ‐ 2014‐07‐18 Recording of
   6       FBI UC#1      Meeting with Scott Dittman at Starbucks
   7
                         OTC Attorney Letter Agreements ‐ Jean‐
   8       OTC           Pierre
   9       OTC           Summary Chart ‐ OTC Filings
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 3 of 72



EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                       Letter from OTC Markets to Jean‐Pierre
   10      OTC         re: List of Prohibited Attorneys
                       Email from Heese to Finra dated
                       6/6/2011 with subject "Guy Jean Pierre
   11      OTC         and his successors"

                     OTC Filing ‐ FusionPharm Information
                     and Disclosure Statement for the period
   12      OTC       ended June 30, 2011
                     OTC Filing ‐ FusionPharm Attorney
           OTC       Opinion Letter by DiTommaso for period
   13      DiTommaso ended June 30, 2011

                       OTC Filing ‐ FusionPharm Statement of
   14      OTC         Income for period ended June 30, 2011
                       OTC Filing ‐ FusionPharm Notes to
                       Financial Statments for period ended
   15      OTC         June 30, 2011
                       Email from Dittman to OTC Markets
                       dated 12/02/2011 subject: "RE: OTCIQ
                       User: Company Information Update for
   16      OTC         Fusion Pharm, Inc.
                       OTC Filing ‐ FusionPharm Statement of
                       Income for period ended September 30,
   17      OTC         2011
                       OTC Filing ‐ FusionPharm Notes to
                       Financial Statments for period ended
   18      OTC         September30, 2011
                    Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 4 of 72



EXHIBIT                                                        ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           OTC       OTC Filing ‐ FusionPharm Annual
           Bodden    Information and Disclosure Statement
   19      Duke      for period ended December 31, 2011
                     OTC Filing ‐ FusionPharm Quarterly
           OTC       Report for the period ended March 31,
  19a      Bodden    2012
                     OTC Filing ‐ FusionPharm Quarterly
           OTC       Report for the period ended June 30,
  19b      Bodden    2012
                     OTC Filing ‐ FusionPharm Quarterly
                     Report for the period ended September
  19c      Bodden    30, 2012
                     OTC Filing ‐ FusionPharm Attorney
           OTC       Opinion Letter by DiTommaso for period
   20      DiTommaso ended September 30, 2011

                     OTC Filing ‐ FusionPharm Information
                     and Disclosure Statement for the period
   21      OTC       ended September 30, 2011
                     OTC Filing ‐ FusionPharm Attorney
           OTC       Opinion Letter by DiTommaso for period
   22      DiTommaso ended December 31, 2011
                     OTC Filing ‐ FusionPharm Attorney
           OTC       Opinion Letter by DiTommaso for period
   23      DiTommaso ended March 31, 2012
                     OTC Filing ‐ FusionPharm Attorney
           OTC       Opinion Letter by DiTommaso for period
   24      DiTommaso ended June 30, 2012
                     Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 5 of 72



EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     OTC Filing ‐ FusionPharm Annual
           OTC       Information and Disclosure Statement
   25      DiTommaso for period ended December 31, 2012
                     OTC Filing ‐ FusionPharm Attorney
           OTC       Opinion Letter by DiTommaso for period
   26      DiTommaso ended December 31, 2012
                     OTC Filing ‐ FusionPharm Quarterly
                     Report for the period ended March 31,
   27      OTC       2013
                     OTC Filing ‐ FusionPharm Attorney
           OTC       Opinion Letter by DiTommaso for period
   28      DiTommaso ended March 31, 2013

                     OTC Filing ‐ FusionPharm OTC Pink Basic
   29      OTC       Disclosure Guidelines filled in by FSPM
                     OTC Filing ‐ FusionPharm Quarterly
                     Report for the period ended June 30,
   30      OTC       2013
                     OTC Filing ‐ FusionPharm Attorney
           OTC       Opinion Letter by DiTommaso for period
   31      DiTommaso ended June 30, 2012
                     Email from Sears to Dahlman dated
                     09/14/2010 attaching Debt Settlement
                     Agreement signed by Dahlman and
   32      Dahlman   Sears

                        Email from Sears to Dahlman on
                        11/08/2010 Instruction for share
   33      Dahlman      transfers to Dahlman, Microcap and Salt
                        Frederick and Belle Dahlman's
   34      Dahlman      resignation from Baby Bee Bright
                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 6 of 72



EXHIBIT                                                              ADM /                        RUL.
NO. /LTR    WITNESS                   DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                         Email from Sears to Fred Dahlman dated
                         11/19/2010 Instruction for share
           Dahlman       transfers to Dahlman, Microcap, Robert
   35      R. Dittman    Dittman, and Salt
                         Letter from Dahlman to Pacific Stock
                         Transfer Co. with instructions for share
   36      Dahlman       transfers

                         Email from Sears to Dahlman dated
                         03/01/2011 attaching Letter of Transfer
                         of Series A Preferred Shares of Baby Bee
   37      Dahlman       Bright to Microcap to be given to DiBella
   38
   39
                         Email from Sears to
                         bjohn@mazdaoflakewood.dealercrm cc
           W. Sears      Blume dated 1/30/2012 attaching
  40       Blume         Blume letter
                         Email from Blume to Dittman dated
  41       Blume         7/5/2012 with subject "FYI"
  42

                         Email from Bohlender to Dittman dated
                         8/15/2011 with subject "Billy's role and
  43       Bohlender     the company structure"
                         Email from Bohlender to Dittman dated
  44       Bohlender     9/14/2011 with subject "Hey"
  45
  46
                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 7 of 72



EXHIBIT                                                             ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                         Oppenheimer ‐Due Diligence and Wire
                         Instructions for Microcap Management
  47       Saia          account ending in 9990
  48
  49
           L. Jean‐
  50       Pierre        Leslie Jean‐Pierre SEC testimony

           L. Jean‐      Leslie Jean‐Pierre Grand Jury testimony
  51       Pierre        in the NY state case on 8/15/2013
           L. Jean‐      OTC Attorney Letter Agreements ‐
  52       Pierre        Dinwoodie
                         Attorney Letter Agreement v2.4 January
  53       OTC           14, 2011
                         Guidelines for Providing Adequate
                         Current Information ‐ v. 10.0 updated
  54       OTC           1/14/2011 ‐
                         Guidelines for Providing Adequate
                         Current Information ‐ v. 10.1 updated
  55       OTC           1/31/2012
                         Pink Basic Disclosure Guidelines v. 1.0
  56       OTC           updated 1/3/2013
                         Pink Basic Disclosure Guidelines v. 1.1
  57       OTC           updated 4/25/2013
  58
  59
           PSTC ‐        Email from Dibella to Sears and
           DiBella       Dahlman dated 12/2/2010 with subject
           Dahlman       "Transfer of BBYB Preferred Shares (Cert
  60       W. Sears      No 1007)"
                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 8 of 72



EXHIBIT                                                              ADM /                        RUL.
NO. /LTR    WITNESS                   DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
           PSTC ‐
           DiBella       PSTC packet for transaction number
  61       Dahlman       10701
           PSTC ‐
           DiBella       Email from Jean‐Pierre to Dibella with cc
           Kramer        Sears dated 2/11/2011 with subject
  62       W. Sears      "BBYB Information"
           PSTC ‐
           DiBella       PSTC packet for transaction number
  63       Dahlman       12834
  64
                         Email from Dibella to Beth Looker cc
           PSTC ‐        Claiborne dated 11/7/2012 with subject
  65       DiBella       "FusionPharm notes?"

                         Email from DiBella to Dittman dated
                         12/17/2012 attaching a convertible
                         note between Bayside Realty Holdings
           PSTC ‐        and Fusion Pharm from Sandra Sears to
  66       DiBella       DiBella dated 12/13/2012
           PSTC ‐        Email from Sandra Sears to Dibella cc
           DiBella       Sears dated 12/24/2012 with subject
  67       W. Sears      "Convertible note"
  68
           PSTC ‐        Email from Sears to Dibella dated
           DiBella       12/26/2012 with subject "Convertible
  69       W. Sears      note"
           PSTC ‐        Email #2 from Sears to Dibella dated
           DiBella       12/26/2012 with subject "Convertible
  70       W. Sears      note"
                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 9 of 72



EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
           PSTC ‐        Email from Dibella to Sears dated
           DiBella       12/27/2012 with subject "Convertible
  71       W. Sears      note"

           PSTC ‐
           DiBella
           DiTommaso PSTC packet for transaction number
  72       Ssears    12986
           PSTC ‐
  73       DiBella   FedEx Tracking number 794557022916
                     Email from Sears to Dibella dated
           PSTC ‐    3/7/2013 with subject "BSRH Note
           DiBella   LOP.pdf attaching DiTommaso Attorney
  74       W. Sears  Opinion Letters
           PSTC ‐
           DiBella   Email from Dibella to Sears cc Dittman
  75       W. Sears  dated 3/11/2013 with blank subject

            PSTC ‐
           DiBella
           DiTommaso
           S. Sears  PSTC packet for transaction number
  76       (mom)     12992

           PSTC ‐        Email from Sears to Dibella cc Dittman
           DiBella       dated 4/11/2013 with subject
   77      W. Sears      "Meadpoint Venture Partners FSPM"

           PSTC ‐
           DiBella   PSTC packet for transaction number
   78      DiTommaso 12998
                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 10 of 72



EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           PSTC ‐
           DiBella   PSTC packet for transaction number
   79      DiTommaso 13002
           PSTC ‐
   80      DiBella   FedEx Tracking number 796476186341

                         Email from Sears to Dibella dated
           PSTC ‐        8/27/2013 with subject "Mdpt"
           DiBella       attaching DiTommaso Attorney Opinion
   81      W. Sears      Letter and Credit Card Authorization
           PSTC ‐
           DiBella       Email from Dibella to Sears dated
   82      W. Sears      8/27/2013 with subject "Mdpt"
           PSTC ‐
           DiBella       Email from Sears to Dibella dated
   83      W. Sears      8/29/2013 with "Mdpt"

           PSTC ‐
           DiBella
           DiTommaso
           Thaden        PSTC packet for transaction number
   84      Scholz        13003
           PSTC ‐
           DiBella       Email from Sears to PSTC dated
   85      W. Sears      9/19/2013 with subject "Issuance"
   86
   87
   88
   89
           PSTC ‐
   90      Claiborne     List of Attorneys for Heightened Review
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 11 of 72



EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
           PSTC ‐
           Claiborne
           S. Sears    Baby Bee Bright Shareholder consent to
   91      (mom)       appoint Dittman and Sandra Sears
           PSTC ‐      Email from Sears to PSTC and Jean‐
           Claiborne   Pierre dated 2/15/2011 with subject
           Kramer      "Baby Bee Bright Corporation Reverse
   92      W. Sears    Split"
                       Email from Upham to PSTC dated
           PSTC ‐      2/16/2011 with subject "Baby Bee
   93      Claiborne   Bright Corporation Reverse Split"
           PSTC ‐      Letter from Jean‐Pierre to NASDAQ
   94      Claiborne   OMX Group dated 2/16/2011
           PSTC ‐      PSTC packet for transaction number
   95      Claiborne   12883
           PSTC ‐
   96      Claiborne   BBYB: Reverse Split Information
            PSTC ‐
           Claiborne
           S. Sears
           (wife)      PSTC packet for transaction number
   97      Scholz      12868
           PSTC ‐      PSTC packet for transaction numbers
   98      Claiborne   12895 and 12900
            PSTC ‐
           Claiborne   PSTC packet for transaction numbers ,
   99      Scholz      12895 and 12900
            PSTC ‐     Email from Dittman to Eldirdge dated
           Claiborne   05/16/2011 attaching Certificate Order
  100      Abott       dated 05/09/2011
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 12 of 72



EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
            PSTC ‐
           Claiborne
           S. Sears    PSTC packet for transaction number
  101      (wife)      12903
           PSTC ‐      PSTC packet for transaction number
  102      Claiborne   12905
            PSTC ‐
           Claiborne
           S. Sears    PSTC packet for transaction number
  103      (wife)      12912
           PSTC ‐      PSTC packet for transaction number
  104      Claiborne   12913
                       Email from Jean‐Pierre to PSTC cc
           PSTC ‐      Dittman dated 7/12/2011 with subject
  105      Claiborne   "Guy Jean Pierre"
            PSTC ‐
           Claiborne
           S. Sears
           (mom)
           S. Sears    PSTC packet for transaction numbers
  106      (wife)      12917 and 12918
           PSTC ‐      Emails from Sears to PSTC dated August
           Claiborne   3, 2011 with subject "FSPM Preferred
  107      W. Sears    Stock Certificate"
            PSTC ‐
           Claiborne
           S. Sears    PSTC packet for transaction number
  108      (mom)       12924
            PSTC ‐
           Claiborne
           S. Sears    PSTC packet for transaction number
  109      (mom)       12935
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 13 of 72



EXHIBIT                                                        ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
            PSTC ‐
           Claiborne
           R. Dittman
           S. Sears     PSTC packet for transaction number
  110      (mom)        12940
            PSTC ‐
           Claiborne    PSTC packet for transaction number
  111      R. Dittman   12945
                        Email from PSTC to Jean‐Pierre dated
           PSTC ‐       4/5/2012 with subject "FSPM
  112      Claiborne    Information"
           PSTC ‐
           Claiborne    PSTC packet for transaction numbers
  113      R. Dittman   12951, 12952, and 12953
           PSTC ‐
  114      Claiborne    FedEx Tracking number 800575942347

           PSTC ‐       Email from Sears to Claiborne dated
           Claiborne    7/31/2012 with subject "FSPM Cert"
  115      W. Sears     attaching due diligence package

           PSTC ‐
           Claiborne
           DiTommaso PSTC packet for transaction number
  116      Abbott    12964
           PSTC ‐
  117      Claiborne FedEx Tracking number 798688446223
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 14 of 72



EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                        Email from Jean‐Pierre to PSTC cc
                        Dittman dated 9/24/2012 with subject
                        "Follow up re 70,000 restricted shares
           PSTC ‐       issued November 2011" attaching
  118      Claiborne    (unsigned) letter from Dittman to PSTC
  119
  120                   Scottsdale documents related to the
                        opening of Microcap account on
           Scottsdale   7/13/2012
  121                   Documents provided by
                        Scottsdale/Alpine related to Microcap's
                        deposit of 16,273 shares of
                        FusionPharm on approximately
           Scottsdale   8/6/2012
  122                   Documents provided by
                        Scottsdale/Alpine related to Microcap's
                        deposit of 40,000 shares of
                        FusionPharm on approximately
           Scottsdale   8/1/2012
  123
                        Signed letter from Dittman to Scottsdale
                        dated 8/8/2012 relating to stock
           Scottsdale   certificate 11176 for 40,000 shares
  124      W. Sears     Email from Sears to Craig D'Mura at
           Scottsdale   Scottsdale dated 8/10/2012
  125
                        Scottsdale Account ending in 4611 ‐
  126      Scottsdale   Opening Documents for Bayside
                    Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 15 of 72



EXHIBIT                                                          ADM /                        RUL.
NO. /LTR   WITNESS                  DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                        Documents provided by
                        Scottsdale/Alpine related to Bayside's
                        deposit of 140,000 shares of
                        FusionPharm on approximately
  127      Scottsdale   1/21/2013
  128
  129                   Scottsdale documents related to the
                        opening of Meadpoint account on
           Scottsdale   4/11/2013
  130
                        Documents provided by
                        Scottsdale/Alpine related to
                        Meadpoint's deposit of 475,000 shares
                        of FusionPharm on approximately
  131      Scottsdale   4/18/2013
  132

                        Email from Sears to Scottsdale dated
                        8/19/2013 containing two attachments
                        with supporting documentation for
  133      Scottsdale   Meadpoint's deposit of 500,000 shares
                        Documents provided by
                        Scottsdale/Alpine related to
                        Meadpoint's deposit of 500,000 shares
                        of FusionPharm on approximately
  134      Scottsdale   8/23/2013

                        Emails between Dittman and Kramer at
                        FINRA from 10/6/2011 through
  135      Kramer       11/14/2011 with attachments
                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 16 of 72



EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                         Emails between Dittman and Kramer at
                         FINRA from 10/5/2011 through
  136      Kramer        11/30/2011
  137      Kramer        Finra Investigation Timeline

                         Email from Tina Marini to Katie Saia
                         dated 07/13/2011 with subject "8210
  138      Kramer        Request from Todd Kramer at FINRA"

                         Documents provided by Oppenheimer
                         to FINRA related to account number
                         G51‐1429990 held in the name
  139      Kramer        Microcap Management LLC

                         Email from Sears to Jean‐Pierre with cc
                         to Scholz dated 04/19/2011 attaching
                         Special Board of Directors Meeting
                         dated 08/20/2007, Dahlman
                         Resignation dated 11/15/2010 and Baby
                         Bee Bright Preferred Stock Origin dated
  140      Scholz        04/15/2011

                         Email from Sears to Scholz dated
                         10/19/2011 attaching Stock Purchase
           Scholz        Agreement dated 05/09/2011 between
  141      W. Sears      Scholz and Sears
                         Email from Sears to Scholz dated
                         11/08/2011 attaching Company
           Scholz        Purchase 05/09/2011 and Share
  142      W. Sears      Purchase Agreement 11/02/2011
                    Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 17 of 72



EXHIBIT                                                        ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           Scholz      Email from Sears to Scholz dated
           DiTommaso   06/18/2012 attaching M&C Due
  143      W. Sears    Dilligence dated 06/18/2012
           Scholz
           S. Sears    Email from Sears to
           (mom)       Casskri1120@aol.com cc Scholz dated
  144      W. Sears    2/7/2013 with subject "Scottsdale"
  145       Scholz     Richard Scholz ‐ Declaration
  146
  147
  148
  149

                       Email from Dittman to Dittman dated
  150      Abbott      04/21/2011 subject: "Fusion Pharm"
                       E‐mail from Dittman to Abbott with
  151      Abbott      subject "evite"

                       Email from Dittman to Abbott dated
  152      Abbott      07/13/2011 subject: "Follow Up"
                       Email from Thaden to Dittman dated
                       08/05/2013 subject "Fwd: conversation
  153      Thaden      follow up"
                       Email from lldittman22@gmail to
                       Dittman dated 8/6/2013 with subject
  154      Thaden      "conversation follow up"

                       Email from Sears to Thaden cc Dittman
  155      Thaden      dated 8/13/2013 with subject "FSPM"
                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 18 of 72



EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                         Email from Thaden to Sears cc Dittman
                         dated 8/14/2013 with subject "drafting
  156       Thaden       an agreement"
           W. Sears
           S. Sears      Sandra Sears SEC transcript from
  157      (mom)         testimony on 11/18/2015
           W. Sears
           S. Sears      Check Number 5014 from Bayside to
  158      (mom)         Jean‐Pierre for $2500
           W. Sears
           S. Sears      Check Number 5047 from Bayside to
  159      (mom)         Jean‐Pierre for $2500
           W. Sears
           S. Sears      Check Number 5057 from Bayside to
  160      (mom)         Jean‐Pierre for $500
           W. Sears
           S. Sears      Check Number 5063 from Bayside to
  161      (mom)         Jean‐Pierre for $3000
           W. Sears
           S. Sears      Check Number 5069 from Bayside to
  162      (mom)         Jean‐Pierre for $2500
           W. Sears
           S. Sears      Check Number 5082 from Bayside to
  163      (mom)         Jean‐Pierre for $500
           W. Sears
           S. Sears      Check Number 5116 from Bayside to
  164      (mom)         Jean‐Pierre for $500
           W. Sears
           S. Sears      Check Number 5101 from Bayside to
  165      (mom)         Jean‐Pierre for $2500
                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 19 of 72



EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
           W. Sears
           S. Sears      Check Number 5104 from Bayside to
  166      (mom)         Jean‐Pierre for $500
                         Email from Dittman to Robert Dittman
                         and Jamey Fader dated 9/17/2012 with
  167      R. Dittman    subject "Vertifresh"
                         Email from Kocinski to Sears cc Dittman
           W. Sears      dated 11/21/2011 with subject "Sept
  168      Kocinski      30s"
                         Email from Dittman to Kocinski and
           W. Sears      Sears with cc to Jean‐Pierre dated
  169      Kocinski      11/23/2011 subject: "RE: Sept 30s"
                         Email from Sears to Dittman and Jean‐
                         Pierre with cc to Kocinski dated
           W. Sears      11/28/2011 subject: "FW:Financial
  170      Kocinski      Statements"

                         Email from Sears to Dittman and Jean‐
                         Pierre dated 12/22/2011 attaching
                         Financial Statements FusionPharm 3rd
                         Quarter 2011, Fusion Pharm
                         Shareholders Statement dated
           W. Sears      09/30/2011, and Fusion Pharm Financial
  171      Kocinski      Statement Notes dated 09/30/2011
                         Email from Dittman to Kocinski dated
                         03/28/2012 attaching Fusion Pharm
  172      Kocinski      Financials dated 12/31/2011
                         Email from Sears to Kocinski and
           W. Sears      Dittman dated 3/25/2012 with subject
  173      Kocinski      "12/31/12 financials"
                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 20 of 72



EXHIBIT                                                             ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                         Email from Sears to Jean‐Pierre with cc
           W. Sears      to Kocinski dated 04/03/2012 subject:
  174      Kocinski      "FSPM"
  175
           W. Sears      Email from Kocinski to Sears re
  176      Kocinski      Quarterly Report June 2012

                         Email from Sears to Dittman and Jean‐
                         Pierre forwarding email from Kocinski to
                         Jean‐Pierre with cc to Sears and Dittman
           W. Sears      dated 06/07/2012 subject: "FW: FSPM
  177      Kocinski      Financial Statements as of 3/31/12"

                         Email from Kocinski to Jean‐Pierre with
                         cc to Sears, Dittman, and Bodden dated
           W. Sears      11/21/2012 subject "Fusion Pharm
  178      Kocinski      Financials for Period Ending 9/30/12"

                         Email from Kocinski to Jean‐Pierre with
                         cc to Sears and Dittman dated
           W. Sears      03/06/2013 subject "Fusion Pharm
  179      Kocinski      Financials for Period Ending 12/31/12"

                     Information and Disclosure Statement
  180      DiTommaso for the Period Ended 06/30/2011
                     Email from Jean‐Pierre to DiTommaso
                     dated 12/27/2011 attaching document
                     named
                     "FSPM_LawFirm_AttorneyLetter_12.27.
  181      DiTommaso 11"
                  Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 21 of 72



EXHIBIT                                                        ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Tod DiTommaso invoice submitted to
  182      DiTommaso Jean‐Pierre dated 1/15/2012

                     Email from Jean‐Pierre to DiTommaso
                     dated 06/11/2012 forwarding
                     confirmation from Kocinski who
           DiTommaso prepared FSPM Financial Statements
  183      Kocinski  period ended 03/31/2012
                     Email from Jean‐Pierre to DiTommaso
                     dated 4/6/2012 attaching document
                     named
                     "FSPM_LawFirm_AttorneyLetter_04.05.
  184      DiTommaso 12"
  185

                     Email from Jean‐Pierre to DiTommaso
                     dated 5/1/2012 attaching various
                     documents for the Pawson, Padilla, OTC
  186      DiTommaso and For Your Information transaction

                     Drafted Attorney Opinion Letter for For
  186a     DiTommaso Your Information, Inc

                     Drafted Attorney Opinion Letter for OTC
  186b     DiTommaso Market Services

                     Drafted Attorney Opinion Letter for
  186c     DiTommaso Padilla

                     Drafted Attorney Opinion Letter for
  186d     DiTommaso Pawson
                  Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 22 of 72



EXHIBIT                                                         ADM /                        RUL.
NO. /LTR   WITNESS                  DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Signed Officer's Certificate for Pawson,
                     Padilla, OTC Market Services and For
  186e     DiTommaso Your Information transaction

                     Pawson, Padilla, For Your Information
  186f     DiTommaso Letters requesting to remove the legend

                     OTC Market Services Letters requesting
  186g     DiTommaso to remove the legend

                     FusionPharm Stock Certificates 11159,
  186h     DiTommaso 11160, 11161, 11162

                     Email from Jean‐Pierre to DiTommaso
                     dated 6/6/2012 attaching four files
  187      DiTommaso related to a Microcap Opinion Letter.
                     FSPM Stock Certificate number 11167
                     for 190,000 shares in the name
  187a     DiTommaso Microcap Management

                     Signed FSPM ‐ Microcap Non‐Affiliation
  187b     DiTommaso Form
                     FusionPharm Officer's Certificate
                     relating to stock certificat number
  187c     DiTommaso 11167
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to stock
  187d     DiTommaso certificate number 11167
                  Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 23 of 72



EXHIBIT                                                      ADM /                        RUL.
NO. /LTR   WITNESS                DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Email from Jean‐Pierre to DiTommaso
                     dated 06/11/2012 forwarding share
  188      DiTommaso structure provided by PSTC
                     Email from Jean‐Pierre to DiTommaso
                     dated 6/11/12 with subjet "FSPM Pink
                     Sheets Opn Ltr" attaching document
                     named
                     "FSPM_LawFirm_AttorneyLetter_06.06.
  189      DiTommaso 12"

                     Email from Jean‐Pierre to DiTommaso
                     dated 6/13/2012 with subject "Revised
                     FSPM Pink Sheets Opn Ltr" attaching
                     document named
                     "FSPM_LawFirm_AttorneyLetter_06.13.
  190      DiTommaso 12_R"

                     Email from Jean‐Pierre to DiTommaso
                     dated 7/2/2012 with subject "FSPM‐
                     MICROCAP OPN LTR" attaching a revised
  191      DiTommaso Microcap Attorney Opinion Letter
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to stock
  191a     DiTommaso certificate 11167

                     Email from Jean‐Pierre to DITommaso
                     dated 7/21/2012 with subject "FSPM
  192      DiTommaso Abbott‐Microcap Opinion Letter"
                  Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 24 of 72



EXHIBIT                                                         ADM /                        RUL.
NO. /LTR   WITNESS                 DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Packet of documents related to Abbott
                     transaction to include the Debt
                     Settlement Agreement, Officer's
                     Certificate, Stock Certificate number
  192a     DiTommaso 7385, and Share Purchase Agreement
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to stock
  192b     DiTommaso certificate 7385

                     Email from Jean‐Pierre to DiTommaso
                     dated 8/15/2012 with subject "FSPM
                     Pink Sheets Opn Ltr ‐ Period ending June
                     30, 2012" attaching document named
                     "FSPM_LawFirm_AttorneyLetter_08.09.
  193      DiTommaso 12"

                     FusionPharm Shareholder Report
  193a     DiTommaso through 06/30/12

                     Signed Officer's Certificate dated
  194      DiTommaso 12/07/2012
                     Email from Jean‐Pierre to DiTommaso
                     dated 12/13/2012 with subject "FSPM ‐
                     Bayside: 144 Debt Conversion Opinion
  195      DiTommaso Letter"

                     Signed Bayside Line of Credit Agreement
  195a     DiTommaso dated 5/2/2011

                     Bayside Non‐Affiliation Letter dated
  195b     DiTommaso December 6, 2012
                  Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 25 of 72



EXHIBIT                                                          ADM /                        RUL.
NO. /LTR   WITNESS                 DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Bayside Notice of Conversion for
  195c     DiTommaso 140,000 shares of FusionPharm

                       Officer's Certificate dated 12/7/12 for
  195d     DiTommaso   140,000 shares of Bayside
                       Drafted Attorney Opinion Letter on
                       blank letterhead relating to 140,000
                       shares of FSPM converted from the
  195e     DiTommaso   Bayside note dated 12/13/2012
                       Email from Jean‐Pierre to DiTommaso
                       dated 12/21/2012 with subject "FSPM ‐
                       Bayside: Final 144 Debt Conversion
  196      DiTommaso   Opinion Letter"
                       Drafted Attorney Opinion Letter on
                       blank letterhead relating to 140,000
                       shares of FSPM converted from the
  196a     DiTommaso   Bayside note dated 12/21/2012

                     Email from Jean‐Pierre to DiTommaso
                     dated 1/4/2013 with subject "Revised
  197      DiTommaso FSPM‐Bayside Realty Opinion Letter"
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 140,000
                     shares of FSPM converted from the
  197a     DiTommaso Bayside note dated 1/4/2012

                     Letter from Dittman dated 12/05/2012
                     authorizing to close the line of credit
  197b     DiTommaso from Bayside Realty Holdings
                  Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 26 of 72



EXHIBIT                                                        ADM /                        RUL.
NO. /LTR   WITNESS                  DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Email from DiTommaso to Claiborne
                     dated 7/26/2012 with subject "FSPM‐
                     Abbott‐Microcap Opn Ltr" attaching the
  198      DiTommaso DiTommaso Attorney Opinion Letter

                     Tod DiTommaso invoice submitted to
  199      DiTommaso Jean‐Pierre dated 1/15/2013

                     Email from Jean‐Pierre to DiTommaso
                     dated 3/4/2013 with subject "FSPM ‐
                     STARCITY OPN LTR" attaching 3
  200      DiTommaso documents related to the transaction
                     Securities transfer agreement between
                     Bayside Realty Holdings and Starcity
  200a     DiTommaso Capital

                     Starcity Capital ‐ Notice of Conversion
  200b     DiTommaso dated 2/27/2013
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 137,500
                     shares of FSPM Starcity Capital
  200c     DiTommaso converted from the Bayside note

                     Email from Jean‐Pierre to DiTommaso
                     dated 3/4/2013 with subject "FSPM ‐
                     VERA GROUP OPN LTR" attaching 3
  201      DiTommaso documents related to the transaction
                     Securities transfer agreement between
                     Bayside Realty Holdings and VERA
  201a     DiTommaso GROUP
                  Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 27 of 72



EXHIBIT                                                        ADM /                        RUL.
NO. /LTR   WITNESS                DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Vera Group ‐ Notice of Conversion
  201b     DiTommaso dated 2/27/2013
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 12,500
                     shares of FSPM Vera Group converted
  201c     DiTommaso from the Bayside note

                     Email from Jean‐Pierre to DiTommaso
                     dated 3/4/2013 with subject "FSPM ‐ A.
                     Mauriello Debt Conversion" attaching 3
  202      DiTommaso documents related to the transaction
                     Securities transfer agreement between
                     Bayside Realty Holdings and Alexandra
  202a     DiTommaso Mauriello

                     Alexandra Mauriello ‐ Notice of
  202b     DiTommaso Conversion dated 2/27/2013
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 25,000
                     shares of FSPM Mauriello converted
  202c     DiTommaso from the Bayside note

                     Email from Jean‐Pierre to DiTommaso
                     dated 3/4/2013 with subject "FSPM ‐
                     Black Arch Debt Conversion" attaching 4
  203      DiTommaso documents related to the transaction
                     Securities transfer agreement between
                     Bayside Reality Holdings and Black Arch
  203a     DiTommaso Opportunity Fund LP
                  Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 28 of 72



EXHIBIT                                                         ADM /                        RUL.
NO. /LTR   WITNESS                 DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Black Arch Opportunity Fund LP ‐ Notice
  203b     DiTommaso of Conversion dated 2/27/2013
                     FusionPharm Officer's Certificate dated
                     2/28/2013 relating to the sale of the
  203c     DiTommaso Bayside Note
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 12,500
                     shares of FSPM Black Arch Opportunity
                     Fund LP converted from the Bayside
  203d     DiTommaso note

                     Email from Rob Hoffman to DiTommaso
                     dated 3/4/2013 with subject FSPM‐Roy
  204      DiTommaso Legend Removal Opinion Letter

                     Email from Jean‐Pierre to DiTommaso
                     dated 3/4/2013 with subject "FSPM Pink
                     Sheets Attorney Letter for period ending
  205      DiTommaso 12.31.12"
                     Blank FusionPharm Officer and Directors
                     Questionnaire for period ended
  205a     DiTommaso December 31, 2012

                     FusionPharm Shareholder Report
  205b     DiTommaso through 02/26/2013

                     Email from Jean‐Pierre to DiTommaso
                     dated 3/5/2013 with subject "FSPM‐SGI
  206      DiTommaso Group Debt Conversion"
                  Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 29 of 72



EXHIBIT                                                        ADM /                        RUL.
NO. /LTR   WITNESS                 DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                     Securities transfer agreement between
                     Bayside Reality Holdings and SGI Group,
  206a     DiTommaso LLC

                     SGI Group LLC ‐ Notice of Conversion
  206b     DiTommaso dated 2/27/2013
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 12,500
                     shares of SGI Group converted from the
  206c     DiTommaso Bayside note

                     Email from Jean‐Pierre to DiTommaso
                     dated 3/6/2013 with subject "Re: FSPM
                     OTC Markets Opn Ltr" attaching
                     document named
                     "FSPM_LawFirm_AttorneyLetter_03.06.
  207      DiTommaso 13_R"

                     Email from Jean‐Pierre to DiTommaso
                     dated 3/11/2013 with subject "package ‐
  208      DiTommaso Dave Roy ‐ FusionPharm"
                     Email from Jean‐Pierre to DITomasso
                     dated 3/12/2013 with subject "FSPM‐
                     Black Additional Revised Opinion
                     Letter(s) attaching 4 drafted Attorney
  209      DiTommaso Opinion Letters
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 25,000
                     shares of FSPM Mauriello converted
  209a     DiTommaso from the Bayside note
                  Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 30 of 72



EXHIBIT                                                      ADM /                        RUL.
NO. /LTR   WITNESS                DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 12,500
                     shares of FSPM SGI Group converted
  209b     DiTommaso from the Bayside note
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 137,500
                     shares of FSPM Starcity Capital
  209c     DiTommaso converted from the Bayside note
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 12,500
                     shares of FSPM Vera Group converted
  209d     DiTommaso from the Bayside note

                     Email from Jean‐Pierre to DiTommaso
                     dated 3/12/2013 with subject "FSPM‐
                     Black Arch Debt Conversion Revised
                     Letter" attaching 2 documents related
  210      DiTommaso to the transaction

                     Letter dated 3/8/13 to DiBella from
  210a     DiTommaso Dittman
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 12,500
                     shares of FSPM Black Arch Opportunity
                     Fund LP converted from the Bayside
  210b     DiTommaso note

                     Email from Jean‐Pierre to DiTommaso
                     dated 3/30/13 with subject "FSPM‐
  211      DiTommaso Meadpoint Opinion"
                  Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 31 of 72



EXHIBIT                                                          ADM /                        RUL.
NO. /LTR   WITNESS                 DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                     Packet of documents related to
                     conversion of 475,000 shares from the
                     Meadpoint note to include the Officer's
                     Certificate, the Meadpoint Note, the
                     letter from Dittman to PSTC, and the
                     Written Consent of the Board of
  211a     DiTommaso Directors
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to 475,000
                     shares of FSPM converted from the
  211b     DiTommaso Meadpoint note dated 03/31/2013

                     Email from Jean‐Pierre to DiTommaso
                     dated 8/22/2013 with subject "FSPM:
  212      DiTommaso Pink Sheets Letter ‐ 06‐30‐13 Financials"

                     FusionPharm Shareholder Report
  212a     DiTommaso through 06/03/2013
                     FusionPharm Officer and Directors
                     Questionnaire for period ended June 30,
  212b     DiTommaso 2013

                     OTC Markets DiTommaso Opinion Letter
  213      DiTommaso dated 08/22/2013 (PDF)

                     Email from Sears to Dittman dated
                     08/30/2013 attaching the signature
                     page for Scholz and Thayden's Attorney
  214      DiTommaso Opinion Letter from Tod DiTommaso
                  Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 32 of 72



EXHIBIT                                                       ADM /                        RUL.
NO. /LTR    WITNESS               DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                     Email from Jean‐Pierre to DiTommaso
                     dated 8/26/2013 with subject "FSPM:
                     Opinion letter request" attaching 4
  215      DiTommaso documents related to the transaction

                     Due Diligence Documents related to the
  215a     DiTommaso transfer to Scholz

                     Due Diligence Documents related to the
  215b     DiTommaso transfer to Myron Thaden

                     Due Diligence Documents related to the
  215c     DiTommaso transfer to Sharryn Thaden
                     Drafted Attorney Opinion Letter on
                     blank letterhead relating to the
                     conversion of the Meadpoint note for
                     shareholders Myron and Sharryn
  215d     DiTommaso Thaden and Scholz

                     Tod DiTommaso invoice submitted to
  216      DiTommaso Jean‐Pierre dated 9/15/2013

           DiTommaso OTC Attorney Letter Agreements ‐
  217      OTC       DiTommaso
                     FusionPharm Current Information
                     Letters Reviewed and Verified by
  218      DiTommaso DiTommaso

                     FusionPharm Attorney Opinion Letters
  219      DiTommaso Reviewed and Verified by DiTommaso
                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 33 of 72



EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.


  220      DiTommaso DiTommaso Invoices sent to Jean‐Pierre
  221
  222
  223
  224
                         Andrew Duke's sketch of the
                         FusionPharm Office located on
  225      Duke          Wynkoop Street
                         Email from Sears to Dittman dated
           W. Sears      09/28/2011 subject: "FW: Reservation
  226      Duke          Confirmation"
                         Email from Dittman to Duke and Sears
           W. Sears      dated 10/12/2011 with subject
  227      Duke          "business plan update"
                         Email from Duke to Dittman, Sears and
           W. Sears      Frank Falconer dated 10/20/2011 with
  228      Duke          subject "retreat"
           W. Sears      Email from Sears to Duke dated
  229      Duke          3/23/2012 with subject "Status"
                         Email from Dittman to Duke dated
  230      Duke          4/17/2012 with subject "Debt"
  231
  232
  233
  234
                         Email from Sears to Bodden cc Dittman
           W. Sears      dated 3/10/2011 with subject "Fusion
  235      Bodden        Pharm"
                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 34 of 72



EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                         Email from Sears to Bodden dated
           W. Sears      03/14/2011 attaching Affidavit of Cliff
  236      Bodden        Bodden 03/14/2011
                         Email from Jean‐Pierre to Bodden with
           W. Sears      cc to Sears dated 03/14/2011 subject:
  237      Bodden        "RE: Affidavit"

                         Email from Sears to Bodden dated
                         03/28/2011 forwarding email from Jean‐
                         Pierre to Sears attachinhg Baby Bee
           W. Sears      Bright Articles of Incorporation and
  238      Bodden        Baby Bee Bright Supporting Documents
                         Email from Bodden to Malino with cc to
                         Sears dated 03/24/2012 attaching
                         FusionPharm 2‐Page Summary and
           W. Sears      FusionPharm Private Investor
  239      Bodden        Presentation
                         Email from Bodden to Dittman and
                         Sears dated 03/31/2012 attaching
                         Annual Information and Disclosure
                         Statement dated 12/31/2011 and
                         Annual Information and Disclosure
           W. Sears      Statement dated 12/31/2011 Revision
  240      Bodden        from 03/31/2012
  241
                         Email from Bodden to Malino cc
                         Dittman and Sears dated 4/4/2012 with
           W. Sears      subject "Pro Forma Financial
  242      Bodden        Projections"
                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 35 of 72



EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                         Email from Bodden to Dittman with cc
                         to Sears dated 05/25/2012 attaching
           W. Sears      Financial Statements dated 03/2012 and
  243      Bodden        03/2011

                         Email from Bodden to Jean‐Pierre dated
  244      Bodden        05/30/2012 subject: "RE: Meeting"

                         Email from Sears to Dittman forwarding
                         email from Bodden to Sears dated
           W. Sears      06/04/2012 attaching Promissory Note
  245      Bodden        and Credit Line Agreement Draft
                         Email from Bodden to Sears dated
           W. Sears      06/06/2012 attaching Bayside Loan
  246      Bodden        Documents (8 attachments)
                         Email from Bodden to Sears dated
           W. Sears      06/06/2012 attaching MeadPoint Loan
  247      Bodden        Documents (5 attachments)
  248

                         Email from Sears to Bodden dated
                         06/12/2012 forwarding email from Jean‐
           W. Sears      Pierre to Sears dated 06/11/2012
  249      Bodden        subject: "FSPM ‐ OTC Markets Opn Ltr"
                         Email from Bodden to Sears with cc to
                         Dittman and Jean‐Pierre dated
           W. Sears      06/13/2012 subject: "Capitoline Due
  250      Bodden        Diligence"
                         Email from Bodden to Sears with cc to
           W. Sears      Dittman dated 06/15/2012 subject:
  251      Bodden        "Due Diligence Items"
                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 36 of 72



EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                         Email from Sears to Bodden dated
           W. Sears      06/17/2012 forwarding email from Jean‐
  252      Bodden        Pierre to Bodden subject: "RE: FSPM"
                         Email from Bodden to Jean‐Pierre and
                         Sears dated 06/18/2012 attaching
           W. Sears      Fusion Pharm 504 Offering Documents
  253      Bodden        dated 06/2012
           W. Sears      Email from Sears to Bodden dated
  254      Bodden        6/19/2012 with blank subject

                         Email from Bodden to Dittman with cc
                         to Jean‐Pierre and Sears dated
           W. Sears      06/20/2012 attaching Capitoline Due
  255      Bodden        Diligence Package (14 attachments)
                         Email from Bodden to Nick Malino with
                         cc to Sears and Barbarosh dated
           W. Sears      06/20/2012 attaching the Due Diligence
  256      Bodden        Package (14 attachments)
           W. Sears      Email from Bodden to Sears dated
  257      Bodden        8/5/2012 with subject "Deposits"
                         Email from Sears to Bodden and Jean‐
                         Pierre dated 08/07/2012 forwarding
                         email from Amanda Martin to Sears
                         attaching Fusion Pharm Inc.
           W. Sears      Shareholders Report Common dated
  258      Bodden        06/30/2012
                         Email from Bodden to Dittman with cc
                         to Jean‐Pierre and Sears dated
           W. Sears      08/08/2012 attaching Quarterly
  259      Bodden        Financials (6 attachments)
                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 37 of 72



EXHIBIT                                                              ADM /                        RUL.
NO. /LTR    WITNESS                   DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                         Email from Kocinski to Jean‐Pierre with
           W. Sears      cc to Sears, Dittman, and Bodden dated
           Bodden        08/14/2012 subject: "Fusion Pharm
  260      Kocinski      Financials for Period Ending 06/30/12"
  261
                         Email from Bodden to Dittman and
           W. Sears      Sears with cc to Kocinsky and Jean‐
           Bodden        Pierre dated 11/04/2012 attaching
  262      Kocinski      Quarterly Report 09/30/2012

                         Email from Dittman to Bodden and
           W. Sears      Sears with cc to Kocinski and Jean‐Pierre
           Bodden        dated 11/15/2012 subject "Quarterly
  263      Kocinski      Report ‐ September 2012"
  264

                         Email from Bodden to Sears dated
                         11/26/2012 attaching Bayside
           W. Sears      Convertible Promissory Note and
  265      Bodden        MeadPoint Convertible Promissory Note
                         Email from Bodden to Dittman dated
                         12/27/2012 attaching a Letter of
  266      Bodden        Authorization dated 12/05/2011


                         Email from Sears to Bodden dated
                         12/27/2012 forwarding email chain
           W. Sears      between Jean‐Pierre, Sears and DiBella
  268      Bodden        subject: "Fwd: Convertible Note"
  267
                      Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 38 of 72



EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                         Email from Sears to Bodden dated
           W. Sears      12/27/2012 with subject "Convertible
  269      Bodden        note"

                         Email from Bodden to Sears dated
           W. Sears      12/27/2012 attaching Sandra Sears
  270      Bodden        Letter of Resignation dated 05/02/2011

                         Email from Sears to Jean‐Pierre and
                         Bodden dated 12/27/2012 forwarding
           W. Sears      email from DiBella to Sears and Dittman
  271      Bodden        subject: "Fwd: missing docs"

                         Email from Sears to Bodden cc Jean‐
           W. Sears      Pierre and Dittman dated 12/27/2012
  272      Bodden        with subject Convertible Note

                         Email from Bodden to Jean‐Pierre with
                         cc to Sears dated 12/28/2012 attaching
           W. Sears      Drawdown Requests and Proof of
  273      Bodden        Receipt documents (6 attachments)
                         Email from Sears to Dittman dated
                         1/23/2013 with subject FSPM‐Bayside‐
           W. Sears      Starcity STA 1‐23‐2013 not signed v1‐
  274      Bodden        3GJP
                         Email from Bodden to Sears and
           W. Sears      Dittman dated 1/31/2013 with blank
           Bodden        subject attaching FSPM‐Bayside‐Starcity
  275      Coleson       STA.
  276
  277
  278
                     Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 39 of 72



EXHIBIT                                                            ADM /                        RUL.
NO. /LTR   WITNESS                  DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
  279

  280      Scoufis      FusionPharm Corporate Action Calendar
                        Summary Chart ‐ Pre‐FusionPharm
                        Converted Preferred Stock Analysis as of
  281      Scoufis      2/28/11
                        Summary Chart ‐ Pre‐FusionPharm
                        Converted Preferred Stock Analysis as of
  282      Scoufis      3/1/11
                        Summary Chart ‐ Pre‐FusionPharm
                        Converted Preferred Stock Analysis as of
  283      Scoufis      3/16/11
                        Summary Chart ‐ FusionPharm Common
                        Stock with Converted Preferred Stock as
  284      Scoufis      of 6/30/2011
                        Summary Chart ‐ FusionPharm Common
                        Stock with Converted Preferred Stock as
  285      Scoufis      of 11/30/2011
                        Summary Chart ‐ FusionPharm Common
                        Stock with Converted Preferred Stock as
  286      Scoufis      of 12/31/2011

                        Summary Chart ‐ FusionPharm Common
                        Stock with Converted Bayside and
  287      Scoufis      Meadpoint Notes as of 12/31/2012
                        Summary Chart ‐ FusionPharm Common
                        Stock with Converted Preferred Stock as
  288      Scoufis      of 06/30/2013
                        Summary Chart ‐ FusionPharm
                        Oustanding Common Stock as of
  289      Scoufis      09/3/2013
                     Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 40 of 72



EXHIBIT                                                           ADM /                        RUL.
NO. /LTR   WITNESS                  DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                        Summary chart ‐ Price and Volume
                        Analysis with Selected Accounts ‐
  290      Scoufis      3/31/2011‐6/29/2011
                        Summary chart ‐ Price and Volume
                        Analysis with Selected Accounts ‐
  291      Scoufis      3/25/2011‐7/16/2013
                        Summary chart ‐ Price and Volume
                        Analysis with Selected Accounts ‐
  292      Scoufis      3/25/2011‐5/15/2014
                        Summary chart ‐ Price and Volume
                        Analysis with Selected Accounts ‐
  293      Scoufis      3/25/2011‐12/31/2013
                        Summary Chart ‐ FusionPharm Share
                        Flowcharts for Abbott Transaction ‐
  294      Scoufis      8/1/2012
                        Summary Chart ‐ FusionPharm Share
                        Flowcharts for Bayside Stock Issuance ‐
  295      Scoufis      1/18/2013

                        Summary Chart ‐ FusionPharm Share
                        Flowcharts for Sale of Convertible
  296      Scoufis      Promissory Note ‐ 3/14/2013
                        Summary Chart ‐ FusionPharm Share
                        Flowcharts for Meadpoint Stock
  297      Scoufis      Issuance ‐ 4/12/2013
                        Summary Chart ‐ FusionPharm Share
                        Flowcharts for Meadpoint Stock
  298      Scoufis      Issuance ‐ 8/15/2013
                        Summary Chart ‐ FusionPharm Share
                        Flowcharts Scholz and Thaden Stock
  299      Scoufis      Issuance ‐ 9/3/2013
                     Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 41 of 72



EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                        Summary Chart ‐ FusionPharm Trading
  300      Scoufis      Summary
                        Summary Chart ‐ FusionPharm Rule 144
  301      Scoufis      Affiliate Volume Calculations
  302
                        Summary Chart ‐ FusionPharm Wire
  303      Scoufis      Transfers
                        Summary Chart ‐ FusionPharm Wire
  304      Scoufis      Transfers Flowchart
  305
  306
  307
  308
           FBI ‐        Summary Chart ‐ Payments to Guy Jean‐
  309      Newton       Pierre from 2011 to 2013

           FBI ‐        Summary Chart ‐ Guy Jean‐Pierre
  310      Newton       Google Voice Records ‐ (305)929‐3652
                        Summary Chart ‐ Tod DiTommaso
           FBI ‐        Invoices to Jean‐Pierre and Payments
  311      Newton       from Jean‐Pierre
                        Summary Chart ‐ Tod DiTommaso
           FBI ‐        Verizon Wireless Records ‐ (323)497‐
  312      Newton       1418

           FBI ‐        Summary Chart ‐ Fusion Pharm Stock
  313      Newton       Sale Proceeds 2011 through 2013
                        Summary Chart ‐ Check Signers on
           FBI ‐        FusionPharm Wells Fargo Account
  314      Newton       #0090
                    Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 42 of 72



EXHIBIT                                                       ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           FBI ‐       Summary Chart ‐ FusionPharm Related
  315      Newton      Expenses paid from Other Accounts
           FBI ‐       Summary Chart ‐ FusionPharm Revenue
  316      Newton      versus Cash Receipts
           FBI ‐       Summary Chart ‐ Analysis of Proof of
  317      Newton      Funding for Notes
  318
  319
  320

           W. Sears     2016‐02‐26 Recorded Phone Call
  320a     Agent ‐ Funk between Sears and GJP

           W. Sears     2016‐03‐03 Recorded Phone Call
  320b     Agent ‐ Funk between Sears and GJP

           W. Sears     2016‐03‐24 Recorded Phone Call
  320c     Agent ‐ Funk between Sears and GJP

           W. Sears     2016‐03‐30 Recorded Phone Call
  320d     Agent ‐ Funk between Sears and GJP

           W. Sears     2016‐04‐04 Recorded Phone Call
  320e     Agent ‐ Funk between Sears and GJP

           W. Sears     2016‐04‐06 Recorded Phone Call
  320f     Agent ‐ Funk between Sears and GJP

           W. Sears     2016‐04‐17 Recorded Phone Call
  320g     Agent ‐ Funk between Sears and GJP
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 43 of 72



EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears     2016‐04‐22 (Call #1) Recorded Phone
  320h     Agent ‐ Funk Call between Sears and GJP

           W. Sears     2016‐04‐22 (Call #2) Recorded Phone
  320i     Agent ‐ Funk Call between Sears and GJP

           W. Sears     2016‐04‐22 (Call #3) Recorded Phone
  320j     Agent ‐ Funk Call between Sears and GJP

           W. Sears     2016‐04‐23 Recorded Phone Call
  320k     Agent ‐ Funk between Sears and GJP

           W. Sears     2016‐04‐25 Recorded Phone Call
  320l     Agent ‐ Funk between Sears and GJP

           W. Sears     2016‐04‐26 Recorded Phone Call
 320m      Agent ‐ Funk between Sears and GJP

           W. Sears
  321      Agent ‐ Funk
                        Transcript ‐ 2016‐02‐26 Recorded Phone
           W. Sears     Call between William Sears and Guy
  321a     Agent ‐ Funk Jean‐Pierre
                        Transcript ‐ 2016‐03‐03 Recorded Phone
           W. Sears     Call between William Sears and Guy
  321b     Agent ‐ Funk Jean‐Pierre
                        Transcript ‐ 2016‐03‐24 Recorded Phone
           W. Sears     Call between William Sears and Guy
  321c     Agent ‐ Funk Jean‐Pierre
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 44 of 72



EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                   DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                          Transcript ‐ 2016‐03‐30 Recorded Phone
           W. Sears       Call between William Sears and Guy
  321d     Agent ‐ Funk   Jean‐Pierre
                          Transcript ‐ 2016‐04‐04 Recorded Phone
           W. Sears       Call between William Sears and Guy
  321e     Agent ‐ Funk   Jean‐Pierre
                          Transcript ‐ 2016‐04‐06 Recorded Phone
           W. Sears       Call between William Sears and Guy
  321f     Agent ‐ Funk   Jean‐Pierre
                          Transcript ‐ 2016‐04‐17 Recorded Phone
           W. Sears       Call between William Sears and Guy
  321g     Agent ‐ Funk   Jean‐Pierre
                          Transcript ‐ 2016‐04‐22 (#1) Recorded
           W. Sears       Phone Call between William Sears and
  321h     Agent ‐ Funk   Guy Jean‐Pierre
                          Transcript ‐ 2016‐04‐22 (#2) Recorded
           W. Sears       Phone Call between William Sears and
  321i     Agent ‐ Funk   Guy Jean‐Pierre
                          Transcript ‐ 2016‐04‐22 (#3) Recorded
           W. Sears       Phone Call between William Sears and
  321j     Agent ‐ Funk   Guy Jean‐Pierre
                          Transcript ‐ 2016‐04‐23 Recorded Phone
           W. Sears       Call between William Sears and Guy
  321k     Agent ‐ Funk   Jean‐Pierre
                          Transcript ‐ 2016‐04‐25 Recorded Phone
           W. Sears       Call between William Sears and Guy
  321l     Agent ‐ Funk   Jean‐Pierre
                          Transcript ‐ 2016‐04‐26 Recorded Phone
           W. Sears       Call between William Sears and Guy
 321m      Agent ‐ Funk   Jean‐Pierre
  322
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 45 of 72



EXHIBIT                                                       ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.


           W. Sears    2016‐02‐26 Recorded Phone Call
           Agent‐ Funk between Sears and GJP ‐ Synced Audio
  322a     Agent‐Erwin & Transcript


           W. Sears    2016‐03‐03 Recorded Phone Call
           Agent‐ Funk between Sears and GJP ‐ Synced Audio
  322b     Agent‐Erwin & Transcript


           W. Sears    2016‐03‐24 (Excerpt #1) Recorded
           Agent‐ Funk Phone Call between Sears and GJP ‐
  322c     Agent‐Erwin Synced Audio & Transcript


           W. Sears    2016‐03‐24 (Excerpt #2) Recorded
           Agent‐ Funk Phone Call between Sears and GJP ‐
  322d     Agent‐Erwin Synced Audio & Transcript


           W. Sears    2016‐03‐30 Recorded Phone Call
           Agent‐ Funk between Sears and GJP ‐ Synced Audio
  322e     Agent‐Erwin & Transcript


           W. Sears    2016‐04‐04 Recorded Phone Call
           Agent‐ Funk between Sears and GJP ‐ Synced Audio
  322f     Agent‐Erwin & Transcript
                  Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 46 of 72



EXHIBIT                                                        ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.


           W. Sears    2016‐04‐06 Recorded Phone Call
           Agent‐ Funk between Sears and GJP ‐ Synced Audio
  322g     Agent‐Erwin & Transcript


           W. Sears    2016‐04‐17 Recorded Phone Call
           Agent‐ Funk between Sears and GJP ‐ Synced Audio
  322h     Agent‐Erwin & Transcript


           W. Sears    2016‐04‐22 (Call #1) Recorded Phone
           Agent‐ Funk Call between Sears and GJP ‐ Synced
  322i     Agent‐Erwin Audio & Transcript


           W. Sears    2016‐04‐22 (Call #2 ‐ Excerpt #1)
           Agent‐ Funk Recorded Phone Call between Sears and
  322j     Agent‐Erwin GJP ‐ Synced Audio & Transcript


           W. Sears    2016‐04‐22 (Call #2 ‐ Excerpt #2)
           Agent‐ Funk Recorded Phone Call between Sears and
  322k     Agent‐Erwin GJP ‐ Synced Audio & Transcript


           W. Sears    2016‐04‐22 (Call #3) Recorded Phone
           Agent‐ Funk Call between Sears and GJP ‐ Synced
  322l     Agent‐Erwin Audio & Transcript
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 47 of 72



EXHIBIT                                                       ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.


           W. Sears    2016‐04‐23 Recorded Phone Call
           Agent‐ Funk between Sears and GJP ‐ Synced Audio
 322m      Agent‐Erwin & Transcript


           W. Sears    2016‐04‐25 (Excerpt #1) Recorded
           Agent‐ Funk Phone Call between Sears and GJP ‐
  322n     Agent‐Erwin Synced Audio & Transcript


           W. Sears    2016‐04‐25 (Excerpt #2) Recorded
           Agent‐ Funk Phone Call between Sears and GJP ‐
  322o     Agent‐Erwin Synced Audio & Transcript


           W. Sears    2016‐04‐25 (Excerpt #3) Recorded
           Agent‐ Funk Phone Call between Sears and GJP ‐
  322p     Agent‐Erwin Synced Audio & Transcript


           W. Sears    2016‐04‐25 (Excerpt #4) Recorded
           Agent‐ Funk Phone Call between Sears and GJP ‐
  322q     Agent‐Erwin Synced Audio & Transcript


           W. Sears    2016‐04‐26 Recorded Phone Call
           Agent‐ Funk between Sears and GJP ‐ Synced Audio
  322r     Agent‐Erwin & Transcript
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 48 of 72



EXHIBIT                                                       ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           Agent‐ Funk Emails exchanged between Sears and
           Agent ‐     Jean‐Pierre between 3/2/2016 and
  323      Erwin       4/26/2016

           W. Sears
           Agent‐ Funk Email attachment from Sears titled
           Agent ‐     "VertiFresh Business Plan 2012‐2015
  324      Erwin       CO.docx

           W. Sears
           Agent‐ Funk Email attachment from Jean‐Pierre
           Agent ‐     titled "CMC‐Vert Consult
  325      Erwin       AGR_04_15_16.doc"

           W. Sears
           Agent‐ Funk
           Agent ‐     Email attachment from Jean‐Pierre
  326      Erwin       titled "VERT_conv_note_02_28_15.doc"

           W. Sears
           Agent‐ Funk Email attachment from Jean‐Pierre
           Agent ‐     titled "VERT_conv_note_02_28_15.doc"
  327      Erwin       dated 4/21/2015

           W. Sears
           Agent‐ Funk
           Agent ‐     Email attachment from Jean‐Pierre
  328      Erwin       titled "Non‐Aff LTR.docx"
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 49 of 72



EXHIBIT                                                    ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION             AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           Agent‐ Funk Email attachment from Jean‐Pierre
           Agent ‐     titled "Purchase and Assignment
  329      Erwin       Agreement_THORE.doc"

           W Sears     Email attachment from Jean‐Pierre
           Agent Funk titled "Form of Debt Conversion
  330      Agent Erwin Opinion.docx"
  331
  332
  333
  334
  335
  336
  337
  338
  339
  340
  341
  342
  343
  344
  345
  346
  347
  348
  349
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 50 of 72



EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           Agent Varel DVD‐Audio Recording ‐ 2016‐04‐28
           Agent ‐     Recording of William Sears and Guy Jean‐
  350      Erwin       Pierre travel from MIA Airport to Hotel
  351

           W. Sears
           Agent Varel 2016‐04‐28 (Excerpt #1) Recording of
           Agent ‐     Sears and GJP travel from MIA to Hotel ‐
  351a     Erwin       Synced Audio & Transcript

           W. Sears
           Agent Varel 2016‐04‐28 (Excerpt #2) Recording of
           Agent ‐     Sears and GJP travel from MIA to Hotel ‐
  351b     Erwin       Synced Audio & Transcript

           W. Sears
           Agent Varel 2016‐04‐28 (Excerpt #3) Recording of
           Agent ‐     Sears and GJP travel from MIA to Hotel ‐
  351c     Erwin       Synced Audio & Transcript

           W. Sears
           Agent Varel 2016‐04‐28 (Excerpt #4) Recording of
           Agent ‐     Sears and GJP travel from MIA to Hotel ‐
  351d     Erwin       Synced Audio & Transcript

           W. Sears
           Agent Varel 2016‐04‐28 (Excerpt #5) Recording of
           Agent ‐     Sears and GJP travel from MIA to Hotel ‐
  351e     Erwin       Synced Audio & Transcript
                     Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 51 of 72



EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           Agent Varel 2016‐04‐28 (Excerpt #6) Recording of
           Agent ‐     Sears and GJP travel from MIA to Hotel ‐
  351f     Erwin       Synced Audio & Transcript

           W. Sears
           Agent Varel 2016‐04‐28 (Excerpt #7) Recording of
           Agent ‐     Sears and GJP travel from MIA to Hotel ‐
  351g     Erwin       Synced Audio & Transcript

           W. Sears
           Agent Varel 2016‐04‐28 (Excerpt #8) Recording of
           Agent ‐     Sears and GJP travel from MIA to Hotel ‐
  351h     Erwin       Synced Audio & Transcript
   352
   353
   354
   355
                        Transcript ‐ 2016‐04‐28 Recording of
           Agent ‐      William Sears and Guy Jean‐Pierre travel
  356      Erwin        from MIA Airport to Hotel

           W. Sears
           FBI UC #2
           Agent ‐ Varel DVD‐Audio Recording ‐ 2016‐04‐28
           Agent ‐       Recording of Dinner Meeting: William
  357      Erwin         Sears, Guy Jean‐Pierre, and "EJ"
  358
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 52 of 72



EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           FBI UC #2
           Agent ‐ Varel 2016‐04‐28 (Excerpt #1) Recording of
           Agent ‐       Dinner Meeting: Sears, GJP, and EJ ‐
  358a     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent ‐ Varel 2016‐04‐28 (Excerpt #2) Recording of
           Agent ‐       Dinner Meeting: Sears, GJP, and EJ ‐
  358b     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent ‐ Varel 2016‐04‐28 (Excerpt #3) Recording of
           Agent ‐       Dinner Meeting: Sears, GJP, and EJ ‐
  358c     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent ‐ Varel 2016‐04‐28 (Excerpt #4) Recording of
           Agent ‐       Dinner Meeting: Sears, GJP, and EJ ‐
  358d     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent ‐ Varel 2016‐04‐28 (Excerpt #5) Recording of
           Agent ‐       Dinner Meeting: Sears, GJP, and EJ ‐
  358e     Erwin         Synced Audio & Transcript
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 53 of 72



EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           FBI UC #2
           Agent ‐ Varel 2016‐04‐28 (Excerpt #6) Recording of
           Agent ‐       Dinner Meeting: Sears, GJP, and EJ ‐
  358f     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent ‐ Varel 2016‐04‐28 (Excerpt #7) Recording of
           Agent ‐       Dinner Meeting: Sears, GJP, and EJ ‐
  358g     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent ‐ Varel 2016‐04‐28 (Excerpt #8) Recording of
           Agent ‐       Dinner Meeting: Sears, GJP, and EJ ‐
  358h     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent ‐ Varel 2016‐04‐28 (Excerpt #9) Recording of
           Agent ‐       Dinner Meeting: Sears, GJP, and EJ ‐
  358i     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent ‐ Varel 2016‐04‐28 (Excerpt #10) Recording of
           Agent ‐       Dinner Meeting: Sears, GJP, and EJ ‐
  358j     Erwin         Synced Audio & Transcript
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 54 of 72



EXHIBIT                                                             ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           FBI UC #2
           Agent ‐ Varel 2016‐04‐28 (Excerpt #11) Recording of
           Agent ‐       Dinner Meeting: Sears, GJP, and EJ ‐
  358k     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent ‐ Varel 2016‐04‐28 (Excerpt #12) Recording of
           Agent ‐       Dinner Meeting: Sears, GJP, and EJ ‐
  358l     Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent ‐ Varel 2016‐04‐28 (Excerpt #13) Recording of
           Agent ‐       Dinner Meeting: Sears, GJP, and EJ ‐
 358m      Erwin         Synced Audio & Transcript

           W. Sears
           FBI UC #2
           Agent ‐ Varel 2016‐04‐28 (Excerpt #14) Recording of
           Agent ‐       Dinner Meeting: Sears, GJP, and EJ ‐
  358n     Erwin         Synced Audio & Transcript
                         Transcript ‐ 2016‐04‐28 Recording of
           Agent ‐       Dinner Meeting: William Sears, Guy Jean‐
  359      Erwin         Pierre, and "EJ"
                         DVD‐Audio Recording ‐ Events of 2016‐
           W. Sears      04‐29 Meeting: William Sears, Guy Jean‐
  360      Agent Varel Pierre, and "EJ"
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 55 of 72



EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                   DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears       DVD‐2016‐04‐29 Recording Excerpt of
           Agent‐ Varel   Walk to Meeting: William Sears and Guy
           Agent ‐        Jean‐Pierre ‐ Audio synced with
  361      Erwin          Transcript

           W. Sears
           Agent‐ Varel DVD‐Video/Audio ‐ Events of 2016‐04‐
           Agent ‐      29 Meeting: William Sears, Guy Jean‐
  362      Erwin        Pierre, and "EJ"
                        Transcript ‐ Events of 2016‐04‐29
           Agent ‐      Meeting: William Sears, Guy Jean‐Pierre,
  363      Erwin        and "EJ"

           W. Sears
           Agent‐ Varel 2016‐04‐29 (Excerpt #1) Recording of
           Agent ‐      Breakfast Meeting: Sears, GJP, and EJ ‐
  363a     Erwin        Synced Video & Transcript

           W. Sears
           Agent‐ Varel 2016‐04‐29 (Excerpt #2) Recording of
           Agent ‐      Breakfast Meeting: Sears, GJP, and EJ ‐
  363b     Erwin        Synced Video & Transcript

           W. Sears
           Agent‐ Varel 2016‐04‐29 (Excerpt #3) Recording of
           Agent ‐      Breakfast Meeting: Sears, GJP, and EJ ‐
  363c     Erwin        Synced Video & Transcript
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 56 of 72



EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           Agent‐ Varel 2016‐04‐29 (Excerpt #4) Recording of
           Agent ‐      Breakfast Meeting: Sears, GJP, and EJ ‐
  363d     Erwin        Synced Video & Transcript

           W. Sears
           Agent‐ Varel 2016‐04‐29 (Excerpt #5) Recording of
           Agent ‐      Breakfast Meeting: Sears, GJP, and EJ ‐
  363e     Erwin        Synced Video & Transcript

           W. Sears
           Agent‐ Varel 2016‐04‐29 (Excerpt #6) Recording of
           Agent ‐      Breakfast Meeting: Sears, GJP, and EJ ‐
  363f     Erwin        Synced Video & Transcript

           W. Sears
           Agent‐ Varel 2016‐04‐29 (Excerpt #7) Recording of
           Agent ‐      Breakfast Meeting: Sears, GJP, and EJ ‐
  363g     Erwin        Synced Video & Transcript

           W. Sears
           Agent‐ Varel 2016‐04‐29 (Excerpt #8) Recording of
           Agent ‐      Breakfast Meeting: Sears, GJP, and EJ ‐
  363h     Erwin        Synced Video & Transcript

           W. Sears
           Agent‐ Varel 2016‐04‐29 (Excerpt #9) Recording of
           Agent ‐      Breakfast Meeting: Sears, GJP, and EJ ‐
  363i     Erwin        Synced Video & Transcript
  364
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 57 of 72



EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           Agent‐Varel
           Interstate  Negotiated Check made out to Guy M.
  365      Bank        Jean‐Pierre for $5,000

           Agent‐Varel
           Interstate  FirstBank Declaration for $5,000
  366      Bank        Cashier's Check

           Agent‐Varel Bank of America ‐ Declaration and
           Interstate  Record of $5,000 Cashier's Check
  367      Bank        negotiated at Banco Popular
  368
  369
                        FedEx Slip with tracking number
  370      Agent‐ Varel 807645904914 dated 04/22/2016
  371
                        Disc with all email attachments 372a‐
  372                   372ppp

           W. Sears    5/23/2011 E‐mail from Dittman to
  372a     Agent‐ Funk Samson

           W. Sears    5/31/2011 ‐ E‐mail from Sears to Jean‐
  372b     Agent‐ Funk Piere

           W. Sears    7/12/2011 ‐ E‐mail from Sears to Jean‐
  372c     Agent‐ Funk Pierre

           W. Sears    7/17/2011 ‐ E‐mail from Sears to Jean‐
  372d     Agent‐ Funk Pierre
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 58 of 72



EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears    7/17/2011 ‐ E‐mail from Sears to Jean‐
  372e     Agent‐ Funk Pierre

           W. Sears    7/18/2011 ‐ E‐mail from Jean‐Pierre to
  372f     Agent‐ Funk Sears

           W. Sears    7/26/2011 ‐ E‐mail from DiTommaso to
  372g     Agent‐ Funk Jean‐Pierre

           W. Sears    7/28/2011 ‐ E‐mail from Oxford Capital
  372h     Agent‐ Funk to Sears

           W. Sears    8/8/2011 ‐ E‐mail from Sears to Jean‐
  372i     Agent‐ Funk Pierre

           W. Sears    8/9/2011 ‐ E‐mail from Jean‐Pierre to
  372j     Agent‐ Funk Sears

           W. Sears    8/24/2011 ‐ E‐mail chain from Jean‐
  372k     Agent‐ Funk Pierre to Sears

           W. Sears    9/13/2011 ‐ E‐mail from Jean‐Pierre to
  372l     Agent‐ Funk Sears and Dittman

           W. Sears    9/14/2011 ‐ E‐mail from Jean‐Pierre to
 372m      Agent‐ Funk Sears

           W. Sears    9/15/2011 ‐ E‐mail from Jean‐Pierre to
  372n     Agent‐ Funk Sears
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 59 of 72



EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears    9/15/2011 ‐ E‐mail from Jean‐Pierre to
  372o     Agent‐ Funk Sears

           W. Sears    10/7/2011 ‐ E‐mail from Dittman to
  372p     Agent‐ Funk Sears

           W. Sears    10/25/2011 ‐ E‐mail from Jean‐Pierre to
  372q     Agent‐ Funk Sears

           W. Sears    10/26/2011 ‐ E‐mail from Jean‐Pierre to
  372r     Agent‐ Funk Sears

           W. Sears    11/3/2011 ‐ E‐mail from Dittman to
  372s     Agent‐ Funk Kramer

           W. Sears    11/14/2011 ‐ E‐mail from Sears to Jean‐
  372t     Agent‐ Funk Pierre

           W. Sears    11/16/2011‐ E‐mail from Sears to Jean‐
  372u     Agent‐ Funk Pierre

           W. Sears    11/30/2011 ‐ E‐mail from Jean‐Pierre to
 372w      Agent‐ Funk Dittman

           W. Sears    12/26/2011 ‐E‐mail from Jean‐Pierre to
  372x     Agent‐ Funk Dittman and Sears

           W. Sears    12/27/2011 ‐ E‐mail from Dittman to
  372y     Agent‐ Funk Sears and Jean‐Pierre
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 60 of 72



EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears    12/29/2011 ‐ E‐mail from Dittman to
  372z     Agent‐ Funk Sears, Jean‐Pierre, and DiTommaso

           W. Sears    12/29/2011 ‐ E‐mail from OTC to
 372aa     Agent‐ Funk Dittman

           W. Sears
 372bb     Agent‐ Funk 1/3/2012 ‐ E‐mail from Sears to Dittman

           W. Sears    1/14/2012 ‐ E‐mail between Sears and
 372cc     Agent‐ Funk Jean‐Pierre

           W. Sears    3/14/2012 ‐ E‐mail from Jean‐Pierre to
 372dd     Agent‐ Funk Sears cc Dittman

           W. Sears    3/23/2012 ‐ E‐mail from Jean‐Pierre to
 372ee     Agent‐ Funk Sears

           W. Sears    5/23/2012 ‐ E‐mail from Sears to Jean‐
 372ff     Agent‐ Funk Pierre and Dittman

           W. Sears    5/23/2012 ‐ E‐mail from Sears to Jean‐
 372gg     Agent‐ Funk Pierre cc Bodden

           W. Sears    6/7/2012 ‐ E‐mail from Sears to Dittman
 372hh     Agent‐ Funk and Jean‐Pierre

           W. Sears    6/11/2012 ‐ E‐mail from McGehee at
  372ii    Agent‐ Funk Pacific Stock Tranfer to Sears
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 61 of 72



EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears    6/13/2012 ‐ E‐mail from Dittman to
  372jj    Agent‐ Funk Bodden cc Sears and Jean‐Pierre

           W. Sears    6/14/2012 ‐ E‐mail from Jean‐Pierre to
 372kk     Agent‐ Funk Sears

           W. Sears    6/18/2012 ‐ E‐mail from Bodden to
  372ll    Agent‐ Funk Dittman and Sears

           W. Sears    6/18/2012 ‐ E‐mail from Jean‐Pierre to
372mm      Agent‐ Funk Sears

           W. Sears    6/19/2012 ‐ E‐mail from Jean‐Pierre to
 372nn     Agent‐ Funk Sears

           W. Sears    6/28/2012 ‐ E‐mail from Jean‐Pierre to
 372oo     Agent‐ Funk Sears

           W. Sears    7/11/2012 ‐ E‐mail from Jean‐Pierre to
 372pp     Agent‐ Funk Sears

           W. Sears    7/20/2012 ‐ E‐mail from Sears to
 372qq     Agent‐ Funk Dittman

           W. Sears    7/24/2012 ‐ E‐mail from Sears to
 372rr     Agent‐ Funk Dittman

           W. Sears    8/8/2012 ‐ E‐mail from Dittman to
 372ss     Agent‐ Funk Bodden cc Sears and Jean‐Pierre
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 62 of 72



EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears    9/12/2012 ‐ E‐mail from Sears to Jean‐
 372tt     Agent‐ Funk Pierre cc Dittman

           W. Sears    11/26/2012 ‐ E‐mail from Jean‐Pierre to
 372uu     Agent‐ Funk Sears cc Dittman

           W. Sears    11/26/2012 ‐ E‐mail from Dittman to
 372vv     Agent‐ Funk Jean‐Pierre

           W. Sears    11/29/2012 ‐ E‐mail from Dittman to
 372ww     Agent‐ Funk Jean‐Pierre cc Sears

           W. Sears    12/8/2012 ‐ E‐mail from Jean‐Pierre to
 372xx     Agent‐ Funk Sears then forwarded to Dittman

           W. Sears    12/10/2012 ‐ E‐mail from Jean‐Pierre to
 372yy     Agent‐ Funk Sears

           W. Sears    12/18/2012 ‐ E‐mail from Dittman to
 372zz     Agent‐ Funk Sears, Jean‐Pierre, and Bodden

           W. Sears    12/27/2012 ‐ E‐mail from Sears to
 372aaa    Agent‐ Funk Dittman

           W. Sears    1/22/2013 ‐ E‐mail from Sears to Eric
 372bbb    Agent‐ Funk Miller at Scottdale

           W. Sears    2/27/2013 ‐ E‐mail from Sears to Jean‐
 372ccc    Agent‐ Funk Pierre
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 63 of 72



EXHIBIT                                                         ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                 AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears    3/1/2013 ‐ E‐mail from Jean‐Pierre to
 372ddd    Agent‐ Funk Sears

           W. Sears    3/5/2013 ‐ E‐mail from Jean‐Pierre to
 372eee    Agent‐ Funk Sears

           W. Sears    3/6/2013 ‐ E‐mail from Jean‐Pierre to
 372fff    Agent‐ Funk Dittman cc Sears

           W. Sears    4/26/2013 ‐ E‐mail from Jean‐Pierre to
 372ggg    Agent‐ Funk Sears then forwarded to Dittman

           W. Sears    6/28/2013 ‐ E‐mail from Jean‐Pierre to
 372hhh    Agent‐ Funk Sears forwarded to Dittman
                       6/29/2013 ‐ E‐mail from Sears to
           W. Sears    Dittman forwarding an email from Jean‐
 372iii    Agent‐ Funk Pierre

           W. Sears    6/30/2013 ‐ E‐mail from Jean‐Pierre to
 372jjj    Agent‐ Funk Dittman cc Sears

           W. Sears    6/30/2013 ‐ E‐mail from Sears to
 372kkk    Agent‐ Funk Dittman cc Jean‐Pierre

           W. Sears    7/2/2013 ‐ E‐mail from Jean‐Pierre to
 372lll    Agent‐ Funk Dittman cc Sears

       W. Sears    8/15/2013 ‐ E‐mail from Jean‐Pierre to
372mmm Agent‐ Funk Sears
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 64 of 72



EXHIBIT                                                          ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears    8/20/2013 ‐ E‐mail from Dittman to
 372nnn    Agent‐ Funk Sears
                       8/21/2013 ‐E‐mail from Sears to
           W. Sears    Dittman forwarding email from Jean‐
372ooo     Agent‐ Funk Pierre

           W. Sears     9/13/2013 ‐ E‐mail from Sears to
 372ppp    Agent‐ Funk Dittman
                        SDNY Case 04‐cr‐00556 ‐ Judgment
  373      Agent ‐ Funk (William Sears)

  374      Agent ‐ Funk Florida Bar File re Jean‐Pierre
                        Jean‐Pierre SEC transcript from
  375      Agent ‐ Funk testimony on 10/18/2011
                        Jean‐Pierre SEC transcript from
  376      Agent ‐ Funk 12/13/2012 deposition
                        SEC Judgment in NY case re defendant
  377      Agent ‐ Funk Jean‐Pierre
                        Florida Supreme Court records for Case
  378      Agent ‐ Funk Number SC12‐2727

  379      Agent ‐ Funk Guy Jean Pierre's Conviction

           W. Sears     Emails from Sears to Dittman dated
  380      Agent ‐ Funk 5/4/2011 with subject "business plan"

                        Email from Gino Rodrigues to Dittman
           W. Sears     and Sears dated 5/9/2011 attaching
  381      Agent ‐ Funk Corporate Minutes_05911.pdf
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 65 of 72



EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                        Email from Sears to Jean‐Pierre with cc
                        to Dittman dated 10/17/2011 attaching
           W. Sears     Nominee Declaration of Shares (with
  382      Agent ‐ Funk variables)

           W. Sears     Email from Sears to Dittman dated
  383      Agent ‐ Funk 6/20/2011 with subject "Stock"

                        Email from Sears to Dittman dated
                        07/12/2011 forwarding email from Jean‐
           W. Sears     Pierre to Sears attaching Fusion Pharm
  384      Agent ‐ Funk Disclosure Statement dated 06/30/2011

                        Email from Jean‐Pierre to Dittman dated
           W. Sears     07/18/2011 subject: "Meeting with
  385      Agent ‐ Funk Attorney re Pink Sheets Opinion Letter"

                        Email from Sears to Jean‐Pierre with cc
                        to Dittman dated 07/28/2011 attaching
                        Oxford 2011 Deals, Share Purchase
           W. Sears     Overview, and Oxford Sample OSP Share
  386      Agent ‐ Funk Purchase Agreement

           W. Sears     Email from Dittman to Richard Rhodes
  387      Agent ‐ Funk dated 10/18/2011 with subject "skype"

           W. Sears     Email from Jean‐Pierre to Dittman dated
  388      Agent ‐ Funk 11/7/2011 with subject "skype"
  389
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 66 of 72



EXHIBIT                                                       ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION               AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears
           RCFL
           Examiner     Skyp messages between users
  389a     Agent‐Funk   donmarcusi and wjsears66

           W. Sears
           RCFL
           Examiner     Skype messages between users
  389b     Agent‐Funk   donmarcusi and billysears66

           W. Sears
           RCFL
           Examiner     Skype messages between users
  389c     Agent‐Funk   elcommandante1 and trader5280

           W. Sears
           RCFL
           Examiner     Skype message for user
  389d     Agent‐Funk   elcommandante1
                        Email from Dittman to Paychex dated
           W. Sears     9/29/2011 with subject "Payroll ‐
  390      Agent ‐ Funk Paychex"
                        Email from Sears to Dittman dated
                        12/05/2011 attaching Fusion Pharm
           W. Sears     Disclosure Statement Draft dated
  391      Agent ‐ Funk 12/02/2011

           RCFL
           Examiner     Skype messages recovered from
  392      Agent ‐ Funk Dittman's computer
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 67 of 72



EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                  AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

           W. Sears     Email from Sears to Dittman dated
  393      Agent ‐ Funk 7/2/2012 with subject "Cash"
                        Email from Dittman to Roy and Sears
           W. Sears     with cc to Jean‐Pierre dated 02/13/2013
  394      Agent ‐ Funk subject: "RE:FSPM"

           W. Sears     Annual Information and Disclosure
  395      Agent ‐ Funk Statement dated 12/31/2012

                        Email from Sears to Dittman forwarding
                        email from Jean‐Pierre to Sears dated
           W. Sears     02/28/2013 attaching Amended and
  396      Agent ‐ Funk Restated Articles of Incorporation

           W. Sears     Email from Sears to Dave Roy dated
  397      Agent ‐ Funk 3/4/2013 with subject "FSPM"
                        Email from Sears to Dittman dated
           W. Sears     3/8/2013 with subject 'FSPM OTC
  398      Agent ‐ Funk Markets Opn Ltr"
                        Email from Sears to Dittman dated
           W. Sears     06/28/2013 attaching Pink Sheets
  399      Agent ‐ Funk Opinion Letter dated 11/21/2012

                        Email from Sears to Jean‐Pierre with cc
                        to Dittman dated 08/08/2013 attaching
                        DiBella document dated 03/29/2013
           W. Sears     and Meadpoint Letter of Opinion dated
  400      Agent ‐ Funk 08/08/2013
                        PRNewswire Press Release dated
                        8/27/2012 ‐ FusionPharm Enters Major
  401      Agent ‐ Funk Expansion Phase
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 68 of 72



EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                        PRNewswire Press Release dated
                        9/10/2012 ‐ Vertifresh Outlines Urban
  402      Agent ‐ Funk Farming Strategy
                        PRNewswire Press Release dated
                        11/26/2012 ‐ FusionPharm Signs
                        Licensing Agreement for Flowering
  403      Agent ‐ Funk Containers

                          PRNewswire Press Release dated
                          2/6/2013 ‐ FusionPharm Completes Sale
  404      Agent ‐ Funk   of PharmPod High Intensity Containers
                          Accesswire Press Release dated
                          7/29/2013 ‐ Meadpoint Completes First
  405      Agent ‐ Funk   California Sale
                          GoDaddy Return for William Sears
  406      Agent ‐ Funk   account
                          GoDaddy return ‐
  407      Agent ‐ Funk   advisor@flbusinesshelp.com
  408

                        Summary Chart ‐ Sears Role Transition
  408a     Agent ‐ Funk of Baby Bee Bright to FusionPharm
                        Summary Chart ‐ Sears Role at
  408b     Agent ‐ Funk FusionPharm
                        Summary Chart ‐ Sears Role ‐
  408c     Agent ‐ Funk FusionPharm Stock

  408d     Agent ‐ Funk Summary Chart ‐ Sears Role ‐ OTC Filings
                        Summary Chart ‐ Sears Role ‐ Payments
  408e     Agent ‐ Funk to Jean‐Pierre
                        Summary Chart ‐ Sears Role ‐ Bayside
  408f     Agent ‐ Funk and Meadpoint Notes
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 69 of 72



EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                 DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

  408g     Agent ‐ Funk Summary Chart ‐ Sears Role ‐ FINRA
                        Summary Chart ‐ Jean‐Pierre's Role with
  409      Agent ‐ Funk FusionPharm
  410
  410a
                        Colorado Secretary of State Records ‐
  410b     Agent‐Funk   Microcap Management
                        Nevada Secretary of State Records ‐
  410c     Agent‐Funk   Bayside Realty Holdings LLC
                        North Carolina Secretary of State
                        Records ‐ Bayside Realty Holdings LLC
  410d     Agent‐Funk

                        Colorado Secretary of State Records ‐
  410e     Agent‐Funk   Bayside Realty Holdings LLC
                        Nevada Secretary of State Records ‐
  410f     Agent‐Funk   FusionPharm Inc
                        Colorado Secretary of State Records ‐
  410g     Agent‐Funk   FusionPharm Inc
                        Nevada Secretary of State Records ‐
  410h     Agent‐Funk   Meadpoint Venture Partners LLC

                        Colorado Secretary of State Records ‐
  410i     Agent‐Funk   Meadpoint Venture Partners LLC
                        Colorado Secretary of State Records ‐ VF
  410j     Agent‐Funk   Management Inc
                        Colorado Secretary of State Records ‐
 410k      Agent‐Funk   LaDeeDa
  410l
 410m
                   Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 70 of 72



EXHIBIT                                                            ADM /                        RUL.
NO. /LTR    WITNESS                  DESCRIPTION                   AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                        Florida Secretary of State Records ‐
  410n     Agent‐Funk Prestige Media
                        Colorado Secretary of State Records ‐
  410o     Agent‐Funk Salt Investments LLC
                        Colorado Secretary of State Records ‐
  410p     Agent Funk Vertifresh LLC
                        SEC Attestation of Non‐existence of
  411      Agent ‐ Funk Registration for FusionPharm
  412
                        SEC Complaint RE Jean‐Pierre ‐
  413      Agent ‐ Funk 12/06/2012

                        SEC Order Imposing Temporary
  414      Agent ‐ Funk Suspension RE Jean‐Pierre ‐ 05/20/2015
                        SEC Order of Suspension RE Jean‐Pierre ‐
  415      Agent ‐ Funk 05/20/2015
                        JP Morgan Chase ‐ Jean‐Pierre & Jean‐
                        Pierre, LLC
                        IOLTA Trust Account
                        Escrow Account
  416                   Acct Ending: 0238
                        Bank of America ‐ Florida IOTA Trust
                        Account
                        Jean‐Pierre & Jean‐Pierre
  417                   Acct Ending: 4688
                        Union Bank ‐ Tod A. Ditommaso
  418                   Acct Ending: 3439
                        Union Bank ‐ Tod A. Ditommaso
                        Law Office of Tod Ditommaso
                        Attorney Client Trust Account
  419                   Acct Ending: 3447
               Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 71 of 72



EXHIBIT                                                          ADM /                        RUL.
NO. /LTR   WITNESS                DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.
                     Wells Fargo Bank ‐ Bayside Realty
                     Holdings LLC
  420                Acct Ending: 2037
                     Wells Fargo Bank ‐ Vertifresh LLC
  421                Acct Ending: 0233

                     Wells Fargo Bank ‐ Fusion Pharm Inc
  422                Acct Ending: 0307

                     Wells Fargo Bank ‐ Fusion Pharm Inc
  423                Acct Ending: 0090
                     Wells Fargo Bank ‐ Meadpoint Venture
                     Partners
  424                Acct Ending: 9917
                     Wells Fargo Bank ‐ Microcap
                     Management LLC
  425                Acct Ending: 0560
                     Wells Fargo Account for 10MM Holdings
  426                LLC ending in 1196
  427                Pacific Stock Transfer Declaration
  428                Oppenheimer Declaration
  429                Scottsdale Declaration
  430

                     Oppenheimer ‐ Monthly Statements for
  431                Microcap account ending in 9990

                     Scottsdale ‐ Account Activity Reports for
  432                Meadpoint account ending in 7669

                     Scottsdale ‐ Account Activity Reports for
  433                Microcap account ending in 7090
                  Case 1:17-cr-00008-WJM Document 153 Filed 01/06/19 USDC Colorado Page 72 of 72



EXHIBIT                                                           ADM /                        RUL.
NO. /LTR    WITNESS                DESCRIPTION                    AUTH    STIP OFFER RECD REF. RSVD. COMMENTS/ INFO.

                      Scottsdale ‐ Account Activity Reports for
  434                 Bayside account ending in 4611

                      Scottsdale ‐ Wire Transfer request for
  435                 Microcap account ending in 9990

                      Scottsdale ‐ Wire Transfer request for
  436                 Meadpoint account ending in 7669

                      Scottsdale ‐ Wire Transfer request for
  437                 Microcap account ending in 4611

  438                 Sears eTrade Account ending in #1511

  439                 DiTommaso's Verizon Wireless records
                      Google Voice records associated with
  440                 Account 305‐929‐3652
                      PSTC ‐ Shareholders Lists for
  441                 FusionPharm
  442
           DiTommaso DiTommaso SEC transcript from
  443                testimony on 01/08/2015
  444
  445
  446
  447
  448
  449
  450
